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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
 RIPPY OIL CO.
                                                  CIVIL ACTION
 v.
                                                  NO.: 4:22-CV-00276
 ACE AMERICAN INSURANCE CO.,
 CHARTIS SPECIALTY INSURANCE CO.,                 JUDGE: KENNETH M HOYT
 RISK SPECIALISTS COMPANIES
 INSURANCE AGENCY, INC.


                                            ORDER

        CONSIDERING the Motion to Dismiss, or in the Alternative, to Transfer or Stay and the

Brief in Support filed by AIG Specialty Insurance Company and Risk Specialists Companies Insurance

Agency, Inc.:

        IT IS HEREBY ORDERED that the Motion to Dismiss, or in the Alternative, to Transfer or

Stay filed by AIG Specialty Insurance Company and Risk Specialists Companies Insurance Agency,

Inc. be and is hereby GRANTED.

        IT IS FURTHER ORDERED that this matter be and is hereby DISMISSED.

        Houston, Texas, this ____ day of ___________________, 2022.




                                                     DISTRICT COURT JUDGE
